




Dismissed and Memorandum Opinion filed August 31, 2006








Dismissed
and Memorandum Opinion filed August 31, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00514-CV

____________

&nbsp;

FRANK WASHINGTON, Appellant

&nbsp;

V.

&nbsp;

COLUMBIA REAL ESTATE C/O MOHAMMAD
ASADUDDIN, Appellee

&nbsp;



&nbsp;

On Appeal from the County Court at
Law No. 1

Fort Bend County , Texas

Trial Court Cause No.
28425

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed April 28, 2006.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On
August 4, 2006, notification was transmitted to all parties of this court=s intention to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P.
37.3(b).&nbsp; Appellant filed no response.








In
addition, our records show that to date appellant has neither established
indigence nor&nbsp; paid the $125.00 appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent);Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals, Misc.
Docket No. 98-9120 (Tex. Jul. 21, 1998) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). &nbsp;After being given
the requisite ten-days= notice that this appeal was subject to
dismissal, appellant did not respond.&nbsp; See Tex. R.
App. P. 42.3 (allowing involuntary dismissal of case because appellant has failed to comply
with notice from clerk requiring response or other action within specified time). 

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
31, 2006.

Panel consists of Chief Justice Hedges and Justices
Seymore and Guzman.

&nbsp;





